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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     :

         v.                                       : Crim. No. 21-CR-291-1 (ABJ)

THOMAS F. SIBICK                                  :

                                             ORDER

         Upon consideration of Defendant Thomas Sibick’s Motion for Modification of

Conditions of Release, and any Opposition thereto, it is, this          day of         , 2022,

hereby

         ORDERED, that the defendant’s motion is GRANTED; it is further

         ORDERED, that pending the securing of full-time employment, Mr. Sibick shall be

permitted to leave the home where he is currently confined, Monday through Friday, between

9:30 a.m. and 5 p.m. to assist the individual who is renovating two properties; it is further

         ORDERED, that the pretrial supervision officer for the Western District of New York

shall permit Mr. Sibick, upon the provision of satisfactory proof (whether oral or in writing), to

attend employment interviews, and, if employment is secured, to engage in full-time

employment. The supervision officer shall not unreasonably withhold permission either with

respect to either interview or employment opportunities.




                                                  ___________________________________
                                                  The Honorable Amy Berman Jackson
                                                  United States District Judge
